Case 3:22-cv-0268>x- PH PRE RPES HISERFE TC RAG

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FOR THE NORTHERN DISTRICT OF|TE ILED

 

NOV 23 2022

 

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at U.S. DISTRICT
Deputy

8-22¢V2630-p

Civil Action No.

MARNAY HARRIS
Plaintiff

 

 

Vv.

Irving City Employees Federal Credit Union , Be
Defendant

 

COMPLAINT
The Defendants (IRVING CITY EMPLOYEES FEDERAL CREDIT UNION (ICEFCU), Beverly Alexander, Jeff |
Crumly, and Jim Ladner) have violated the Plaintiff, Marnay Harris, a federally protected natural person specifically |
under Title 15 Chapter 41, Truth-In Lending Act (TILA) and the Fair Debt Collections Practices Act (FDCPA), the
actions of the Defendants directly harmed myself and my family. On October 4, 2021, | applied for an extension of |
credit, and ICEFCU turned my extension of credit into a loan, a violation of 15 USC 1692). At the time of the
transaction, | was uninformed about the use of credit, was not given adequate notice of the extension of credit, a |
violation of 15 USC 1611, for failure to disclose rights enacted by Congress they continued to harm myself and my |
family. | requested a validation of debt, under 15 USC 1692g and ICEFCU did not send the written statement of debt |
validation-they defaulted on the requirements under federal law. ICEFCU has harassed and willfully harmed me in |
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an attempt to collect a debt (15 USC 1692b), which makes them a debt collector so FDCPA is.applicable. ICEFCU's |
harassment and abusive communications continued even after a cease and desist 15 USC 1692¢(c), | requested debt
validation after which ICEFCU began a constant stream of abusive communications, and trying to ruin my

reputation causing a lack of sleep, panic attacks and a strain in my relationship with my ex-husband, they also
harassed him at his job, and he is active duty military. | have missed work and had a mental breakdown in October
2022. ICEFCU and Beverly Alexander, specifically has caused mental anguish, she called and harassed me on
numerous occasions the most through this entire ordeal in an attempt to destroy my ability to extend credit by
reporting this alleged debt 180+ days past due. I am attempting to purchase a home for my family, and am unable to |
do so because of this alleged debt and invasion of privacy under 15 USC 6801. Credit score is 580 from 749

 

 

* Attach additional pages as needed.

Date Wile jzozz
Signature ad lardio

Print Name Mar nay Haris

Address ZN2 Sandy Lane

City, State, Zip Trving “TX "150 bo

Telephone (Q)4) 30-4453

 

  
   
 

 
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lnvin Cy EMployzes Federal Credit Union,
beverl4 leyander, JeFe Crumly, Jim Ladner

 

Defendant

 
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The JS.44 civil cover sheet and the information contained herein neither replace ner supplement the filing and service of pleadings or other papers as required by law, except.as
provided by local rules of court, This form, approved by. the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the

purpose of initiating the civil docket sheet.

(SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

|. (a) PLAINTIFFS

Marnay Harris

(b) County of Residence of First Listed Plaintiff DALLAS

(EXCEPT IN U.S, PLAINTIFF CASES)

(ce) Attorneys (Firm Name, Address..and Telephone Number)

DEFENDANTS

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NOTE:

Attorneys (/f Known)

 

 

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IRVING CITY EMPLOYEES FEDERAL CREDIT UNION,
BEVERLY ALEXANDER, JEFF CRUMLY, JIM LADNER

Countyof Residence of First L isted Defendant

 

   
  

 

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U.S. Government Cy 3 Federal Question

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C] 2 U.S. Government
Defendant

IV. NATURE OF SUIT (Place an “NX” in One Box

(U.S. Government Nota Party)

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Il. CITIZENSHIP OF PRI

 

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| CONTRACT

TORTS

FORFEITURE/PENALTY BANKRUPTCY

 

110 insurance
120 Marine
130 Miller Act

310 Airplane
315 Airplane Product

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140 Negotiable Instrument Liability

150 Recovery of Overpayment 320 Assault, Libel &
& Enforcement of Judgment Slander

15) Medicare Act 7 330 Federal Employers’

152 Recovery of Defaulted Liability

340 Marine

345 Marine Product
Liability

350 Motor Vehicle

355 Motor Vehicle
Product Liability

360 Other Personal
Injury

362 Personal Injury -

Student Loans
(Excludes Veterans)

CJ 153 Recovery of Overpayment
of Veteran’s Benefits

[] 160 Stockholders” Suits

[| 190 Other Contract

— 195 Contract Product Liability

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PERSONAL INJURY

PERSONAL INJURY
C] 365 Personal Injury -
Product Liability
C] 367 Health Care/
Pharmaceutical
Personal injury
. Product Liability
Cj 368 Asbestos Personal
Injury Product
Liability
PERSONAL PROPERTY
370 Other Fraud
371 Truth in Lending
C] 380 Other Personal
Property Damage
C] 385 Property Damage
Product Liability

Medical Malpractice

 

196 Franchise
{ REAL PROPERTY CIVIL RIGHTS

625 Drug Related Seizure
| 1625 Drug Related Sei

of Property 21 USC 881
| ]690 Other

422 Appeal 28 USC 158
423 Withdrawal
28 USC 157

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375 False Claims Act

376 Qui Tam (31 USC
372%a))

400 State Reapportionment

OTHER STATUTES |

 

 

410 Antitrust

 

$20 Copyrights
830 Patent
835 Patent - Abbreviated

    
 

840 Trademark

 

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710 Pair Labor Standards

New Drug Application

&80 Defend Trade Secrets

430 Banks and Banking
450 Commerce
460 Deportation
470 Racketeer Influenced and
Corrupt Organizations
480 Consumer Credit
{15 USC 1681 or 1692)
485 Telephone Consumer

 

 

Act of 2016
Act
= 720 Labor/Management
Relations 86t HIA (395%)

740 Railway Labor Act

1751 Family and Medical
Leave Act

790 Other Labor Litigation

862 Black Lung (923)

864 SSID Title XVI
865 RSI (405(g))

 

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220 Foreclosure 441 Voting

230 Rent Lease & Ejectment 442 Employment

240 Torts to Land 443 Housing

245 Tort Product Liability Accommodations
|_| 290 All Other Real Property

 

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Other
448 Education

 

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446 Amer. w/Disabilities -

Habeas Corpus:
463 Alien Detainee
510 Motions to: Vacate

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| 530 General

|_| 535 Death Penalty

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540 Mandamus & Other

550 Civil Rights

555 Prison Condition

560 Civil Detainee -
Conditions of
Confinement

 

|_| 791 Employee Retirement

 

863 DIWC/DIWW (405(g))

Protection Act
490 Cable/Sat TV
850 Securities‘/Commodities’
Exchange
890 Other Statutory Actions
891 Agricultural Acts
893 Environmental Matters

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Income Security Act

 

895 Freedoin of Information

 

 

or Detendant)
[_] 871 18S. Third Party
26 USC 7609

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462 Naturalization Application
465 Other Immigration
Actions

 

 

870 Taxes (U.S. Plaintiff”

Aci
896 Arbitration
899 Administrative Procedure
AcUReview or Appeal of
Agency Decision
| 950 Constitutionality of
State Statutes

 

 

- ORIGIN (Place an “X” in One Box Only)
‘ Original 2 Removed from
Proceeding State Court

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6 Multidistrict
Litigation -
Transfer

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Direct File

Cite the U.S. Civil Statute under which you are filing (De not cite jurisdictional statutes unless diversity):

15 USC 1692¢

Brief description of cause:

Not fulfilling the requirements to validate the alleged debt-debt validation,

["] CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:

VI. CAUSE OF ACTION

 

VIL, REQUESTED IN

 

 

 

COMPLAINT: UNDER RULE 23, F.R.Cv.P. $1,100,000.00 JURY DEMAND: C]yYes [x] No
VHI. RELATED CASE(S)

IF ANY (See msm NUDGE DOCKET NUMBER _
DATE SIGNATURE OF TN “CORD
11/16/2022 Marnay Harris

 

 

 

FOR OFFICE USE ONLY

AMOUNT APPLYING IFP JUDGE MAG. JUDGE

RECEIPT #

 
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